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                             UNITED STATES DISTRICT COURT
                                DISTRICT OF NEW JERSEY


 BARBARA BLOOM, on behalf of herself and
 all others similarly situated,
                                                     Civil Action No.
                             Plaintiff,

         v.                                          CLASS ACTION COMPLAINT
 AARP, INC., AARP SERVICES INC., AARP
 INSURANCE PLAN, UNITEDHEALTH
 GROUP, INC., and UNITEDHEALTHCARE
 INSURANCE COMPANY,

                            Defendants.


       Plaintiff Barbara Bloom (“Plaintiff”), individually and on behalf of all others

similarly situated, brings this Class Action Complaint against the herein-named defendants,

and upon information and belief, except as to the allegations within Plaintiff’s personal

knowledge, alleges as follows:

                                   JURISDICTION AND VENUE

       1.      This Court has jurisdiction over this action pursuant to 28 U.S.C. § 1332(d)(2)(A),

as modified by the Class Action Fairness Act of 2005, because at least one member of the Class,

as defined below (the “Class”), is a citizen of a different state than defendants, there are more

than 100 members of the Class, and the aggregate amount in controversy exceeds $5,000,000

exclusive of interest and costs.

       2.      Venue is proper in this Court pursuant to 28 U.S.C. § 1391 because many of the

acts and transactions giving rise to this action occurred in this District, the named plaintiff

resides in this District, and because defendants (a) are authorized to conduct business in this

District and have intentionally availed themselves of the laws and markets within this District
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through the promotion, marketing, distribution, and sale of “AARP-branded” Medicare

supplement insurance policies (“AARP Medigap”) in this District; (b) conduct substantial

business in this District; and (c) are subject to personal jurisdiction in this District.

                                  SUMMARY OF THE ACTION

        3.      This is a consumer class action seeking to recoup millions of dollars on behalf of

a class of senior citizens and disabled individuals residing in the State of New Jersey who, by the

deceptive practices and unlawful acts alleged herein, were fooled into paying artificially inflated

insurance charges for Medicare supplemental health insurance policies so that defendants could

use the inflated portion of the payment for illegal purposes – namely the payment of insurance

commissions to an unlicensed entity.

        4.      Defendant AARP, Inc., along with its subsidiaries (collectively, “AARP”),

formerly known as the American Association of Retired Persons, is a tax-exempt, “non-profit”

membership organization for seniors aged 50 years and older. AARP has long been regarded as

a protector and advocate of the nation’s senior community, and today AARP is reported to have

over 40 million members – about half of whom are over the age of 65, and all of whom

recognize and trust the AARP name.

        5.      Despite its “non-profit” status, however, AARP reaps substantial income through

business partnerships with large insurance companies like defendants UnitedHealth Group, Inc.

and UnitedHealthcare Insurance Company (collectively, “UnitedHealth”) in the form of

commissions.

        6.      As alleged herein, defendants AARP and UnitedHealth, together and through their

respective subsidiaries (collectively, “Defendants”), have orchestrated an elaborate scheme

where AARP, as the de facto agent of UnitedHealth, helps market, solicit and sell or renew



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AARP Medigap policies and generally administers the AARP Medigap program for

UnitedHealth, in exchange for a 4.95% commission from each new policy or renewal.

         7.      While Defendants disclose the existence of a payment in general that goes from

UnitedHealth to AARP, which they call a “royalty” for the use of AARP’s intellectual property,

Defendants hide the fact that the payment to AARP is actually a percentage of premium

commission that is charged to unsuspecting seniors and the disabled in addition to their insurance

premium paid to UnitedHealth for coverage.

         8.      Defendants’ motive to term a commission payment a “royalty” is two-fold: it

allows AARP to avoid oversight by insurance regulators, and it allows AARP to avoid paying

taxes on the income it generates through insurance sales. Calling the commission payment a

“royalty” is merely a fiction created by Defendants to further their illegal scheme.

         9.      Indeed, other associations similar to AARP do the right thing and acquire a

license to act as an agent, subjecting themselves to regulatory oversight, and paying taxes. 1

         10.     As detailed herein, Defendants’ acts are unlawful because they violate New Jersey

insurance law. For example, despite the fact that AARP is not licensed as an insurance agent in

the State of New Jersey, it regularly acts as the de facto agent for UnitedHealth by helping

market, solicit and sell AARP Medigap policies in exchange for a 4.95% commission from every

policy sold or renewed. These activities violate multiple provisions of New Jersey insurance

law. See, e.g., N.J. Stat. Ann. § 17:22A-29 (“A person shall not sell, solicit or negotiate

insurance in this State unless the person is licensed for that line of authority in accordance with

this act.”); N.J. Stat. Ann. § 17:22A-41(a) (“An insurer or insurance producer shall not pay a

commission, service fee, brokerage or other valuable consideration to a person for selling,



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    The automobile club AAA, for example, is licensed to sell insurance.
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soliciting or negotiating insurance in this State if that person is required to be licensed under this

act and is not so licensed.”); N.J. Stat. Ann. § 17:22A-41(b) (“A person shall not accept a

commission, service fee, brokerage or other valuable consideration for selling, soliciting or

negotiating insurance in this State if that person is required to be licensed under this act and is

not so licensed.”).

        11.    Because AARP is not licensed as an insurance agent, broker or consultant, it may

not collect a commission for its marketing, soliciting or selling/renewing of AARP Medigap

policies on behalf of UnitedHealth.

        12.    The end result of Defendants’ violations of New Jersey insurance law is that

consumers are charged an artificially inflated amount for insurance coverage that is prohibited by

law. Put differently, Plaintiff was injured by the actual loss of the 4.95% commission payment

and paid more for her AARP Medigap policy because of Defendants’ challenged conduct.

        13.    If Defendants had acted within the bounds of the law, Plaintiff would have only

been charged for Medigap insurance coverage from UnitedHealth, rather than Medigap coverage

plus an illegal 4.95% commission.

        14.    To be sure, similar Medigap policies offered without the “AARP brand” offer

identical benefits often at a lower cost in part because those insurers do not secretly charge

unlawful insurance agent commissions to consumers.

        15.    Ultimately, Defendants’ deceptive and unlawful scheme takes advantage of

unsuspecting senior citizens and the disabled who, unfortunately, put their trust in the AARP

name.

        16.    But for Defendants’ deceptive and unlawful acts, Plaintiff and the other members

of the Class would not have agreed to pay the 4.95% illegal insurance commission secretly



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charged on top of their insurance premiums.

       17.    Plaintiff and the Class were injured by the actual loss of the 4.95% commission

payment and paid more for AARP Medigap insurance because of Defendants’ challenged

conduct.

       18.    Plaintiff brings this action on behalf of the Class for equitable relief and to

recover damages and restitution for conversion and unjust enrichment.

                                            PARTIES

       19.    Plaintiff Barbara Bloom is a resident of West Orange, New Jersey. She first

purchased an AARP Medigap policy in New Jersey in or about March 2015 and has paid her

premium for that policy every month since, including in February 2018. But for Defendants’

deceptive and unlawful acts, as alleged herein, Ms. Bloom would not have agreed to pay 4.95%

above the premiums due to UnitedHealth for an AARP Medigap policy.

       20.    Defendant AARP, Inc. is a non-profit corporation organized under the laws of the

District of Columbia and maintains its primary place of business is at 601 E Street, NW,

Washington, D.C. 20049. AARP, Inc. conducts substantial business in the State of New Jersey.

       21.    Defendant AARP Services, Inc. (“ASI”) is a wholly-owned subsidiary of AARP,

organized under the laws of Delaware. ASI maintains its primary place of business at 601 E

Street, NW, Washington, D.C. 20049. ASI conducts substantial business in the state of New

Jersey. ASI is AARP’s taxable “for-profit” division that negotiates, oversees, and manages

lucrative contracts with AARP’s insurance business partners. AARP created ASI in 1999

pursuant to a settlement agreement with the U.S. Internal Revenue Service (“IRS”) resulting

from an investigation by the IRS into the large amount of income that AARP, Inc., a “non-profit”

tax-exempt organization, earned through its “endorsement” deals. This settlement was one of



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several that AARP, Inc. entered into with the IRS and other entities, such as the U.S. Postal

Service and the tax authorities of the District of Columbia, all relating to AARP, Inc.’s failure to

fully pay unrelated business income tax on its commercial activities, as well as improperly

mailing health insurance solicitations at non-profit rates.

          22.   Defendant AARP Insurance Plan (“AARP Trust”) is a grantor trust organized by

AARP, Inc. under the laws of the District of Columbia and maintains its primary place of

business at 601 E Street, NW, Washington, D.C. 20049. AARP Trust is the vehicle through

which AARP, Inc. collects, invests and remits premium payments for AARP Medigap policies

and collects its unlawful 4.95% commission. AARP Trust conducts substantial business in the

state of New Jersey.

          23.   At all material times, defendant AARP, Inc. dominated and controlled defendants

ASI and AARP Trust.

          24.   Defendants AARP, Inc., ASI and AARP Trust are collectively referred to herein

as “AARP.”

          25.   Defendant UnitedHealth Group, Inc. (“UnitedHealth Group”) is an insurance

corporation organized under the laws of the State of Minnesota and maintains its corporate

headquarters in Minnetonka, Minnesota. UnitedHealth Group conducts substantial business in

the State of New Jersey. UnitedHealth Group is the largest single health insurer in the United

States.

          26.   Defendant UnitedHealthcare Insurance Company is an operating division and

wholly owned subsidiary of UnitedHealth Group and maintains its corporate headquarters in

Hartford, Connecticut. UnitedHealthcare Insurance Company conducts substantial business in

the State of New Jersey. AARP Medigap plans are insured by UnitedHealthcare Insurance



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Company.

       27.     Defendants UnitedHealth Group and UnitedHealthcare Insurance Company are

collectively referred to herein as “UnitedHealth.”

                                   FACTUAL ALLEGATION

       28.     Defendant AARP, formerly known as the American Association of Retired Persons,

is a tax-exempt, non-profit membership organization for seniors aged 50 years and older. AARP

has long been regarded as the protector and advocate of the nation’s senior community, and today

AARP is reported to have over 40 million members – about half of whom are over the age of 65,

and all of whom recognize and trust the AARP name.

       29.     By any measure, AARP is a large, complex and sophisticated enterprise with over

$3 billion in total assets and operating revenues of over $1.3 billion in 2012.

       30.     Despite its “non-profit” status, however, AARP earns substantial revenue through

business partnerships with large insurance companies, like defendant UnitedHealth, to sell its own

“AARP-branded” insurance policies.

       31.     Among other products, AARP endorses three types of Medicare-related insurance:

Part D prescription drug insurance, Medicare Advantage, and Medigap.

       32.     Medigap plans offer extra coverage to Medicare beneficiaries (i.e., seniors and the

disabled) enrolled in traditional Medicare, such as first-dollar coverage and reduced co-payment

and deductibles. In addition, all Medigap plans provide coverage for hospital stays and reduce

seniors’ out-of-pocket costs for physician office visits. Medigap enrollees must pay a monthly

premium that exceeds their Medicare premium in order to receive these additional benefits. In

2012, over 10 million Americans were enrolled in a Medigap plan to supplement their traditional

Medicare coverage.



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       33.     AARP Medigap is the dominant player in the Medigap market. Nationwide, AARP

Medigap has over three times as many Medigap enrollees as its closest competitor, Mutual of

Omaha. As of December 2012, 32% of all Medicare beneficiaries enrolled in a Medigap insurance

plan were enrolled in AARP Medigap.

       34.     The only Medigap plans insured by UnitedHealth, again the largest health insurer in

the country, are AARP Medigap plans. Any consumer who wants to purchase Medigap coverage

from UnitedHealth must purchase the AARP Medigap plan, and thereby unknowingly fund the

4.95% illegal commission to AARP.

       35.     In 2012, AARP generated $704 million in revenues from its so called “royalties,”

which is nearly three times higher than income generated from membership dues, and makes up

52% of AARP’s 2012 total operating revenue.

       36.     Of the $704 million in total “royalty” income generated by AARP across all of its

product offerings in 2012, $458 million (65%) came from UnitedHealth insurance products.

       37.     In 2012 and 2011, the AARP Trust processed $7.8 billion and $7.5 billion,

respectively, in insurance premiums from all sources. In 2012 and 2011, $376 million and $359

million, respectively, was paid to AARP as “royalties” from AARP Trust.

       38.     Because of its tax-exempt status, the substantial income that AARP generates has

drawn the attention of the IRS and the tax authorities of the District of Columbia on more than one

occasion.

       39.     In 1999, AARP entered into a settlement agreement with the IRS due to AARP’s

failure to fully pay unrelated business income tax on its commercial activities. As part of that

settlement, AARP created ASI to act as AARP’s “for-profit” arm. Even with the creation of ASI

as a taxable entity, however, AARP still retains the vast majority of its income, tax-free.



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AARP and UnitedHealth’s Scheme to Defraud Senior Citizens

       40.     According to AARP’s 2010, 2011 and 2012 financial statements, UnitedHealth is

AARP’s largest business partner - 65% of AARP’s “royalty” income is consistently derived from

the sale or renewal of UnitedHealth insurance products. AARP’s current AARP Medigap

business relationship with UnitedHealth began on February 26, 1997, when AARP and

UnitedHealth entered into a joint venture agreement entitled the “AARP Health Insurance

Agreement” (the “Agreement”).

       41.     Under the terms of the Agreement, AARP would: (1) market, solicit, sell and

renew AARP Medigap policies with UnitedHealth; (2) collect and remit premium payments on

behalf of UnitedHealth; (3) generally administer the AARP Medigap program; and (4) otherwise

act as UnitedHealth’s agent.

       42.     In exchange for its services, the Agreement provided AARP with a 4%

“allowance” for every dollar received from the sale or renewal of an AARP Medigap policy, as

well as an additional 2.5% for each dollar over $1 billion:

                                            ARTICLE 6
                             ALLOWANCES AND COMPENSATION
               10 6.1 AARP ALLOWANCE. AARP shall be entitled to receive
               an allowance for AARP’s sponsorship of the SHIP and the license
               to use the AARP Marks in connection therewith. For each Policy
               Year, this allowance shall be equal to the sum of (i) four percent
               of the first $1 billion in Member Contributions plus (ii) two and
               one-half percent of the Member Contributions in excess of $1
               billion. This allowance shall be payable in accordance with
               Section 6.7 hereof. (Emphasis added).

       43.     The Agreement was amended in December 28, 1999 in connection with AARP’s

settlement with the IRS. The 1999 amendment, inter alia, renamed AARP’s “allowance” a

“royalty” and directed 8% of AARP’s “royalty” to its taxable subsidiary, ASI:

                       It is intent [sic] of the parties hereto that the payment made

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              by United to AARP pursuant to the United Agreement and referred
              to as an allowance is a royalty and pursuant to this Assignment
              and the agreement referred to in this paragraph, the royalty is to be
              bifurcated into a payment to AARP Services for Quality Control
              and monitoring and to AARP for use of the AARP Marks. AARP
              shall grant United an exclusive license to use the AARP Marks by
              separate agreement. Such separate agreement shall obligate United
              to compensate AARP for the use of its intangible property by the
              payment of a royalty.

       44.    The Agreement was amended again on December 23, 2002 to increase the amount

of AARP’s “royalty”:

              1.      Subsection 6.1 of the Agreement is amended by deleting
              this subsection in its entirety and replacing it with (sic) following:
                      6.1 AARP Royalty. AARP shall be entitled to receive a
              royalty for AARP’s sponsorship of the SHIP and the license to use
              the AARP Marks in connection therewith. This royalty shall be
              3.25% of Member Contribution for Policy Year 2002 and 3.75% of
              Member Contributions for Policy Year 2003. For Policy Years
              2004 through 2007, the royalty shall be 4% of Member
              Contribution, with a review of the increased royalty amount on
              rates and competitive position prior to implementation.

       45.    In 2007, the parties extended the Agreement through to December 31, 2014, as

explained in UnitedHealth’s quarterly report, filed with the U.S. Securities and Exchange

Commission (“SEC”) on May 9, 2007:

                     On April 13, 2007, we entered into an agreement to extend
              and expand our relationship with AARP through December 31,
              2014. The agreement was expanded to give us a right to use the
              AARP brand on our Medicare Advantage offerings and to extend
              our arrangement to use the AARP brand on our Medicare
              Supplement products and services and Medicare Part D offerings.
              (Emphasis added.)

       46.    Six months later, the parties further extended the Agreement for an additional

three years through to December 31, 2017, as explained in UnitedHealth’s 2007 yearly report

filed with the SEC:

                       On October 3, 2007, we entered into four agreements with

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               AARP that amended our existing AARP arrangements and
               incorporated many of the terms of the April 13, 2007 AARP
               agreement. These agreements extended our arrangements with
               AARP on the Supplemental Health Insurance Program [AARP
               Insurance] to December 31, 2017, extended our arrangement with
               AARP on the Medicare Part D business to December 31, 2014, and
               gave us an exclusive right to use the AARP brand on our Medicare
               Advantage offerings until December 31, 2014, subject to certain
               limited exclusions.

       47.     On October 15, 2013, AARP and UnitedHealth announced that they were

extending the Agreement to run through December 2020. Stephen J. Hemsley, president and

CEO of UnitedHealth Group, noted that “We are honored to build upon our unique and

innovative relationship with AARP, which has helped both UnitedHealthcare and AARP provide

better support and value to the consumers we serve.” 2

       48.     Under the terms of the current Agreement, in exchange for AARP’s administering

of the insurance program and the marketing, soliciting, and selling or renewing AARP Medigap

policies on behalf of UnitedHealth, as well as its collecting and remitting insurance premiums on

behalf of UnitedHealth, AARP earns a 4.95% commission, disguised as a “royalty,” on each

policy sold or renewed.

       49.     The Agreement’s terms require AARP to aid in the solicitation of the sale of

insurance and to generally act as the insurance agent of UnitedHealth.

       50.     The Agreement also specifically notes that AARP owns all solicitation materials

related to the AARP Medigap program:

               7.2 MEMBER COMMUNICATIONS.
               AARP OWNERSHIP. All communications to AARP members
               pertaining to the SHIP [AARP Medigap included], including
               without limitation scripts, solicitation materials and other written
               materials mailed on behalf of AARP to any members, shall be the


2
 https://www.optum.com/about/news/unitedhealth-
grouptoextendbroadenitsrelationshipwithaarptofocusm.html.
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              property of AARP, to the extent specifically identified by United
              or AARP, as the case may be, as developed and used exclusively
              for the SHIP. AARP shall have the sole right to copyright all or
              any of such pieces as it considers appropriate to the fullest extent
              permitted by law; provided, however, that AARP shall not have the
              right to copyright the United Marks.

       51.    The Agreement as of 2011 was reviewed by Congressional staff members from

the House Committee on Ways and Means as part of its investigation into AARP’s tax status.

AARP’s obligations under the Agreement were described in a December 21, 2011 letter from the

Ways and Means Committee to the IRS as follows:

                      Congressional staff recently had the opportunity to review
              three redacted contracts between AARP and AARP Services, Inc.
              (ASI) and United. The contracts covered United’s marketing and
              sale of AARP branded Medigap, Medicare Advantage, and
              Medicare Part D policies. The contracts raised a number of issues
              related to AARP’s involvement in for-profit business activities and
              governance issues among the various AARP entities.

                       The three contracts, signed in January 2008 and which are
              still in effect, detail AARP and ASI’s extensive influence over
              United’s operations, most notably in the Medigap business, and
              several instances in which United is required to take specific
              actions, beyond making “royalty” payments, to the benefit of
              AARP. The contracts include the following provisions that raise
              numerous questions about AARP’s involvement in for profit
              activities:

              a.     ASI is placed in the role of quality control contractor and
              overseer of United’s operations, as it relates to Medigap, Medicare
              Advantage, and Medicare Part D.

              b.      The contracts create a “Senior Leaders” team that oversees
              all aspects of performance under the contracts. Both United and
              ASI each have two officials appointed to the “Senior Leaders”
              team, which coordinates all aspects of contract performance and
              must consent to any action under the contract. At least one United
              and one ASI “Senior Leader” must consent to any decision.
              Further demonstrating AARP’s active role in directing the
              decisions of the insurer, ASI must approve United’s appointments
              to the “Senior Leaders” team.



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            c.      ASI has authority over United’s “Operating Plan” and may
            “approve, modify on a line by line basis, or provide specific
            direction to United,” regarding the plan.

            d.     ASI is given prior review and approval authority over all
            proposed electronic, print, verbal, or scripted communication
            regarding AARP-endorsed Medigap plans directed at both AARP
            members and non-AARP members.

            e.     United is responsible for marketing campaign audits and
            analysis, but all strategy developments and modifications must be
            made in collaboration with AARP.

            f.    ASI oversees and monitors the agent certification process
            and must approve the agent compensation program.

            g.      ASI has consultation, review, and consent rights related to
            any proposed plan design changes including, but not limited to,
            annual budgets, premium levels and rates, and sales and
            distribution plans.

            h.      United is barred from directly or indirectly marketing or
            offering products or programs that compete with AARP-endorsed
            Medigap plans.

            i.     ASI has review and modification authority over United’s
            Medigap-related contracts with third-party vendors exceeding
            $250,000.

            j.     United must submit to ASI a detailed projection of policy
            financials, including recommended member premiums for the
            coming year. ASI may object to the premium levels, and if no
            agreement is reached the issue goes to dispute resolution.

            k.     United may contract with ASI separately to perform
            consulting and marketing services in connection with the sale of
            AARP-endorsed Medigap plans. Such agreements are separate
            from the primary contract but indicate the possibility of the AARP
            subsidiary’s further involvement in business operations.

            l.       United’s annual incentive program for senior executives is,
            in part, dependent on meeting the “transformational” goals
            established by AARP and ASI.

            m.     Any expenditure of Medigap funds not addressed in the
            contract requires the prior written approval of ASI.

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       52.     UnitedHealth compensates AARP to act as its agent in connection with the

marketing, solicitation, sale and administration of the AARP Medigap group insurance program.

       53.     AARP actively helps solicit and market AARP Medigap for UnitedHealth through

television commercials, its website, and advertisements in various periodicals and publications.

       54.     AARP is engaged in actively soliciting consumers to purchase AARP Medigap

and is thus acting as an unlicensed insurance agent of UnitedHealth. Examples of this active

solicitation include, but are not limited to, the following:

       •       www.aarphealthcare.com advertises details of AARP Medigap insurance and
               explicitly states, “This is a solicitation of insurance.” (Emphasis in original.)

       •       www.aarphealthcare.com explains some of the terms of the policies that are
               offered: “A Medicare Supplement Insurance Plan, such as an AARP Medicare
               Supplement Insurance Plan insured by UnitedHealthcare Insurance Company,
               may help pay some of the health care costs that Medicare Parts A and B don’t
               cover like copayments, coinsurance and deductibles for Medicare approved
               services. Your coverage travels with you throughout the U.S. and there are
               virtually no claim forms to file. Medicare Supplement Insurance plans also let
               you keep your own doctors and specialists who accept Medicare patients — and
               you never need to get a referral!” (Emphasis in original.)

       •       www.aarpmedicareplans.com provides even greater detail about the AARP
               Medigap plans that are offered and allows users to enter their New Jersey zip code
               to “View Plans & Pricing.”

       •       www.aarpmedicareplans.com also explicitly states, “This is a solicitation of
               insurance.” (Emphasis in original.)

       •       AARP television and Internet video advertisements promoting the AARP
               Medigap plans also display the same language, “This is a solicitation of
               insurance.” (Emphasis in original.)

       •       Print advertisements for the AARP Medigap plans in the AARP Bulletin
               magazine note: “This is a solicitation of insurance.” (Emphasis in original.)

       •       These same print advertisements provide a toll-free phone number, 1-866-314-
               8679, to call “AARP Health” in order to receive a free information kit to “Tell me
               more about AARP Medicare Supplement Insurance Plans.” The reader is also
               encouraged to “Call to receive complete information including benefits, costs,

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                eligibility requirements, exclusions and limitations.”

       •        AARP Member Advantages (formerly AARP Health) is “a collection of products,
                services and insurance programs made available by AARP.” The page also notes
                that “AARP knows you want quality, affordable health care. And through
                relationships with leading companies, AARP makes available a range of health
                products, services and discounts.”

       55.      For every AARP Medigap policy sold/renewed, AARP collects insureds’

premium payments, plus the 4.95% commission, through the AARP Trust on behalf of

UnitedHealth.

       56.      After deducting the 4.95% commission from the consumers’ payment and

remitting this amount to AARP, Inc. and ASI, AARP then invests the insurance premiums that it

collects for UnitedHealth in a wide range of securities. UnitedHealth gives AARP the right to

retain any gains on those investments, in addition to its 4.95% commission. In 2009, 2010,

2011 and 2012, AARP earned $89,985,195, $56,668,525, $14,484,000 and $59,191,000,

respectively, on the investment of premiums that it held in the AARP Trust prior to remittance of

the premiums due to UnitedHealth.

       57.      As premium payments become due, the AARP Trust remits the premiums to

UnitedHealth.

       58.      The 4.95% commission amount paid to AARP from the AARP Trust is

bifurcated, with 8% going to ASI and 92% going to AARP, Inc. The left side of a chart from the

House Ways and Means Committee members’ report, Behind the Veil: The AARP America

Doesn‘t Know, demonstrates how AARP receives its commissions from the AARP Trust:




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       59.     Contrary to the above chart, however, AARP’s 4.95% commission is not deducted

from the actual insurance premiums paid by consumers. According to the Agreement, AARP’s

commission is charged to consumers on top of the premiums for the actual insurance

coverage: “SHIP GROSS PREMIUMS for a Policy Year means the amount of Member

Contributions minus the AARP allowance determined under Section 6.1 hereof for such policy

year.” The Agreement distinguishes between the amount actually billed to and paid by

consumers (i.e., “Member Contributions”) and the insurance premiums themselves.

       60.     Consistent with this provision in the Agreement, Barry Rand, the CEO of AARP,

testified before the House Ways and Means Committee on April 1, 2011, that “royalties have

nothing to do with the premiums of beneficiaries. Nothing to do with the premiums.” Mr. Rand

also testified that “[a]ll of the money that we have that comes out of the trust in interest goes to


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our mission. None of the money is taken out of any of the premiums.” 3

       61.      In addition, AARP’s then President, W. Lee Hammond, testified the royalty

payment was in addition to the premiums for insurance coverage: “We do take royalty payments

from that money that comes in, and then, as requested by the insurance companies to cover their

products, we return the balance of that money to them.” 4

       62.      Mr. William Josephson, Of Counsel at Fried, Frank, Harris, Shriver and Jacobsen,

LLP, and former Assistant Attorney General-in-Charge of the New York State Law

Department’s Charities Bureau, testified at the hearing that the evidence may suggest “the

amounts characterized by AARP as royalty really are closer to insurance commissions, which I

believe would be subject to unrelated business income tax. This is a factual inquiry that is not

necessarily resolved by questions of law.” 5

       63.      Thus, while Defendants disclose the existence of a payment in general to AARP

which they term a “royalty” paid for the use of AARP’s intellectual property, Defendants hide

the fact that the cost of AARP Medigap insurance includes a percentage-based commission to

AARP that is funded by consumers, in addition to the insurance premium paid to UnitedHealth

for coverage.

       64.      Defendants affirmatively state in their AARP Medigap disclaimer language the

following:

                Premiums are collected from you on behalf of the trustees of the
                [AARP] Trust. These premiums are used to pay expenses incurred
                by the Trust in connection with the insurance programs and to pay
                the insurance company for your insurance coverage. Income
                earned from the investment of premiums while on deposit with the


3
  https://waysandmeans.house.gov/hearing-on-aarps-organizational-structure-management-and-
finances/.
4
  Id.
5
  Id.
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               Trust is paid to AARP and used for the general purposes of AARP
               and its members.

       65.     This statement is highly misleading and deceptive in that Defendants do not

disclose that in addition to paying for the actual insurance coverage, and the administrative

expenses incurred by the AARP Trust, 4.95% of the insured’s payment is diverted to AARP as

an illegal commission.

       66.     Defendants’ misrepresentations and omissions regarding AARP Medigap

constitute an unfair, deceptive, and misleading practice in violation of New Jersey insurance law.

Defendants’ Conduct Is Unlawful Under the New Jersey Insurance Law

       67.     At all material times, UnitedHealth authorized AARP to act as its agent in the

marketing, solicitation and sale of AARP Medigap policies.

       68.     At all material times, AARP acted as the authorized agent of UnitedHealth in the

transaction of health insurance, and therein engaged in the following acts:

       (a) solicited the sale and renewal of insurance on behalf of UnitedHealth;

       (b) solicited an application for insurance on behalf of UnitedHealth;

       (c) received, collected, and/or transmitted an insurance premium to UnitedHealth; and

       (d) generally aided in the transaction of the business of insurance.

       69.     While AARP acts as an insurance agent, it is not licensed to act as such in the

State of New Jersey - a clear violation of New Jersey insurance law. See N.J. Stat. Ann. §

17:22A-29.

       70.     And UnitedHealth has also violated New Jersey insurance law by authorizing

AARP to act as its agent while knowing that AARP is not duly licensed. See id.

       71.     Because AARP is not licensed as an insurance agent, it is therefore self-evident

that AARP may not collect a commission for its marketing, solicitation or sale/renewal of AARP

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Medigap policies on behalf of UnitedHealth, and UnitedHealth may not pay such an illegal

commission when it knows AARP is unlicensed.

Defendants’ Scheme Has Caused Injury to Plaintiff and the Class

        72.    The end result of Defendants’ violations of New Jersey insurance law (which are

not disclosed to consumers) is that consumers are charged an artificially inflated insurance price,

above and beyond the premiums remitted to UnitedHealth for coverage, that is prohibited by law,

and which therefore should not be charged.

        73.    Other Medigap policies offered without the highly regarded “AARP brand” offer

identical benefits often at a lower cost in part because those insurers do not secretly charge

unlawful insurance agent commissions to consumers.

        74.    Defendants’ deceptive and unlawful scheme takes advantage of unsuspecting

senior citizens who all put their trust in the AARP name, in violation of New Jersey insurance

law.

        75.    As a result of Defendants’ unlawful acts and conduct, consumers are harmed

financially in that they are paying 4.95% above the actual cost of insurance coverage so that

UnitedHealth and AARP can secretly divert this 4.95% illegal commission to the unlicensed

AARP.

        76.    But for Defendants’ deceptive and unlawful acts, Plaintiff and the other members

of the Class would not have paid the illegal commission as part of their purchase and/or renewal

of their AARP Medigap policies.

        77.    Put simply, Plaintiff and the Class were injured by the actual loss of the 4.95%

commission payments and paid more for AARP Medigap because of Defendants’ challenged

conduct.



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                                    CLASS ALLEGATIONS

       78.     Plaintiff brings this action pursuant to Rules 23(a), 23(b)(2) and 23(b)(3) of the

Federal Rules of Civil Procedure, individually, and on behalf of the following Class:

               All persons in the State of New Jersey who purchased or renewed
               an AARP Medigap policy.

       79.     Subject to additional information obtained through further investigation and

discovery, the foregoing definition of the Class may be expanded or narrowed by amendment or

amended complaint.

       80.     Specifically excluded from the Class are Defendants, Defendants’ officers,

directors, agents, trustees, parents, children, corporations, trusts, representatives, employees,

principals, servants, partners, joint venturers, or entities controlled by Defendants, and their

heirs, successors, assigns, or other persons or entities related to or affiliated with Defendants

and/or Defendants’ officers and/or directors, the judge assigned to this action, and any member

of the judge’s immediate family.

       81.     Numerosity. The members of the Class are geographically dispersed throughout

the State of New Jersey and are so numerous that individual joinder is impracticable. Upon

information and belief, Plaintiff reasonably estimates that there are hundreds of thousands of

members in the Class. Although the precise number of Class members is unknown to Plaintiff,

the true number of Class members is known by Defendants. More specifically, UnitedHealth

maintains databases that contain the following information: (i) the name of each Class member

enrolled in an AARP Medigap policy; (ii) the address of each Class member; and (iii) each Class

member’s payment information related to AARP Medigap. Thus, Class members may be

identified and notified of the pendency of this action by first class mail, electronic mail, and/or

published notice, as is customarily done in consumer class actions.

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         82.    Existence and predominance of common questions of law and fact. Common

questions of law and fact exist as to all members of the Class and predominate over any

questions affecting only individual Class members. These common legal and factual questions

include, but are not limited to, the following:

         (a)    whether AARP sold, solicited or negotiated Medigap insurance policies in

         violation of N.J. Stat. Ann. § 17:22A-29;

         (b)    whether UnitedHealth paid, and AARP accepted, a commission, service fee,

         brokerage or other valuable consideration for selling, soliciting or negotiating insurance

         in this state in violation of N.J. Stat. Ann. § 17:22A-41;

         (c)    whether Defendants have unlawfully converted money from Plaintiff and the

Class;

         (d)    whether Defendants are liable to Plaintiff and the Class for unjust enrichment;

         (e)    whether Defendants are liable to Plaintiff and the Class for fraudulent

concealment;

         (f)    whether Defendants are liable to Plaintiff and the Class for violation the New

Jersey Consumer Fraud Act, N.J.S.A. § 56:8-1, et seq.;

         (g)    whether Plaintiff and the Class have sustained monetary loss and the proper

measure of that loss;

         (h)    whether Plaintiff and Class are entitled to declaratory and injunctive relief; and

         (i)    whether Plaintiff and the Class are entitled to restitution and disgorgement from

Defendants.

         83.    Typicality. Plaintiff’s claims are typical of the claims of the other members of

the Class in that Defendants deceived Plaintiff in the very same manner as they deceived each



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member of the Class.

         84.   Adequacy of Representation. Plaintiff will fairly and adequately protect the

interests of the Class. Plaintiff has retained counsel that is highly experienced in complex

consumer class action litigation, and Plaintiff intends to vigorously prosecute this action on

behalf of the Class. Furthermore, Plaintiff has no interests that are antagonistic to those of the

Class.

         85.   Superiority. A class action is superior to all other available means for the fair

and efficient adjudication of this controversy. The damages or other financial detriment suffered

by individual Class members is relatively small compared to the burden and expense of

individual litigation of their claims against Defendants. It would, thus, be virtually impossible

for the Class, on an individual basis, to obtain effective redress for the wrongs committed against

them. Furthermore, even if Class members could afford such individualized litigation, the court

system could not. Individualized litigation would create the danger of inconsistent or

contradictory judgments arising from the same set of facts. Individualized litigation would also

increase the delay and expense to all parties and the court system from the issues raised by this

action. By contrast, the class action device provides the benefits of adjudication of these issues

in a single proceeding, economies of scale, and comprehensive supervision by a single court, and

presents no unusual management difficulties under the circumstances.

         86.   In the alternative, the Class may also be certified because:

         (a)   the prosecution of separate actions by individual Class members would create a

risk of inconsistent or varying adjudication with respect to individual Class members that would

establish incompatible standards of conduct for the Defendants;

         (b)   the prosecution of separate actions by individual Class members would create a



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risk of adjudications with respect to them that would, as a practical matter, be dispositive of the

interests of other Class members not parties to the adjudications, or substantially impair or

impede their ability to protect their interests; and/or

        (c)     Defendants have acted or refused to act on grounds generally applicable to the

Class as a whole, thereby making appropriate final declaratory and/or injunctive relief with

respect to the members of the Class as a whole.

                                        COUNT I
                  (New Jersey Consumer Fraud Act, N.J.S.A. § 56:8-1, et seq.)

        87.     Plaintiff incorporates by reference the foregoing paragraphs of this Complaint as

if fully stated herein.

        88.     AARP engaged in unlawful conduct by selling, soliciting or negotiating insurance

in New Jersey without a license in violation of N.J. Stat. Ann. § 17:22A-29. AARP also engaged

in unlawful conduct by accepting a commission for selling, soliciting or negotiating insurance in

New Jersey in violation of N.J. Stat. Ann. § 17:22A-29(b).

        89.     Unitedhealth engaged in unlawful conduct by paying AARP a commission for

selling, soliciting or negotiating insurance in New Jersey without a license in violation of N.J.

Stat. Ann. § 17:22A-29(b).

        90.     In addition, all Defendants engaged in unlawful conduct by failing to disclose

material facts to Plaintiff and the Class, namely that they were charging consumers an illegal

4.95% commission in addition to the cost of the actual insurance coverage provided by

UnitedHealth. All Defendants also engaged in unlawful conduct by providing Plaintiff and Class

members with false or misleading material information about AARP Medigap insurance policies,

including but not limited to statements that “UnitedHealthcare Insurance Company pays royalty

fees to AARP for the use of its intellectual property,” and that “[p]remiums are collected from

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you on behalf of the trustees of the [AARP] Trust[, which] premiums are used to pay expenses

incurred by the Trust in connection with the insurance programs and to pay the insurance

company for your insurance coverage.”

        91.     As a result of this unlawful conduct by Defendants, Plaintiff and the Class have

suffered an ascertainable loss, namely 4.95% of the premiums that they have paid which were

diverted to AARP in illegal commissions and which represent a premium that Plaintiff and the

Class paid above market rates for the insurance that they purchased.

                                           COUNT II
                                          (Conversion)

        92.     Plaintiff incorporates by reference the foregoing paragraphs of this Complaint as

if fully stated herein.

        93.     Plaintiff and the Class have an ownership right to the 4.95% of their payments

illegally diverted to AARP as a commission. At all relevant times, including when Plaintiff and

the Class paid their premiums to Defendants, Plaintiff and the Class had a right to immediate

possessions of these funds.

        94.     Defendants have wrongly interfered with the property rights of Plaintiff and the

Class by charting and accepting commission payments illegally diverted to AARP. Defendants

have done so every month that Plaintiff and the Class have paid premiums for their AARP

Medigap insurance policies, including in February 2018.

        95.     As a direct and proximate cause of Defendants’ conversion, Plaintiff and the

Class suffered damages in the amount of the 4.95% of the payments for insurance illegally

diverted to AARP as a commission.




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                                           COUNT III
                                       (Unjust Enrichment)

        96.     Plaintiff incorporates by reference the foregoing paragraphs of this Complaint as

if fully stated herein.

        97.     Plaintiff and the Class conferred a benefit on Defendants in the form of the 4.95%

of their insurance premium payments illegally diverted to AARP as a commission. Plaintiff and

the Class have conferred this benefit every month that they have paid premiums for their AARP

Medigap insurance policies, including in February 2018.

        98.     Defendants voluntarily accepted and retained this benefit.

        99.     Because this benefit was an illegal commission, hidden from consumers through

material misrepresentations and omissions, it would be unjust and inequitable for the Defendants

to retain it without paying the value thereof.

                                          COUNT IV
                                    (Fraudulent Concealment)

        100.    Plaintiff incorporates by reference the foregoing paragraphs of this Complaint as

if fully stated herein.

        101.    Defendants had a duty to disclose material facts to Plaintiff and the Class given

their relationship as contracting parties. Defendants also had a duty to disclose material facts to

Plaintiff and the Class, namely that they were charging consumers an illegal 4.95% commission

in addition to the cost of the actual insurance coverage provided by UnitedHealth, because

Defendants had superior knowledge such that the transactions without the disclosure were

rendered inherently unfair.

        102.    Defendants possessed knowledge of these materials facts.

        103.    Defendants failed to discharge their duty to disclose these materials facts.



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        104.    In so failing to disclose these material facts to Plaintiff and the Class, Defendants

intended to hide from Plaintiff and the Class that AARP was being paid an illegal 4.95%

commission that consumers were paying in addition to the cost of the actual insurance coverage

provided by UnitedHealth, and thus acted with scienter and/or an intent to defraud.

        105.    Plaintiff and the Class reasonably relied on Defendants’ failure to disclose insofar

as they would not have purchased AARP Medigap insurance had they know that Defendants

were charging them an illegal 4.95% commission in addition to the cost of the actual insurance

coverage provided by UnitedHealth, or they would not have agreed to pay the commission.

        106.    As a direct and proximate cause of Defendants’ fraudulent concealment, Plaintiff

and the Class suffered damages in the amount of the 4.95% of the payments for insurance

illegally diverted to AARP as a commission.

                                             COUNT V
                                              (Fraud)

        107.    Plaintiff incorporates by reference the foregoing paragraphs of this Complaint as

if fully stated herein.

        108.    As discussed above, Defendants provided Plaintiff and Class members with false

or misleading material information about AARP Medigap insurance policies, including but not

limited to statements that “UnitedHealthcare Insurance Company pays royalty fees to AARP for

the use of its intellectual property,” and that “[p]remiums are collected from you on behalf of the

trustees of the [AARP] Trust[, which] premiums are used to pay expenses incurred by the Trust

in connection with the insurance programs and to pay the insurance company for your insurance

coverage.”

        109.    The misrepresentations and omissions of material fact made by Defendants, upon

which Plaintiff and Class members reasonably and justifiably relied, were intended to induce and

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actually induced Plaintiff and Class members to purchase AARP Medigap.

       110.    The fraudulent actions of Defendants caused damage to Plaintiff and Class

members, who are entitled to damages and other legal and equitable relief as a result.

                                   PRAYER FOR RELIEF

       WHEREFORE, Plaintiff, individually and on behalf of all others similarly situated, seek

judgment against Defendants, as follows:

               A.     That Defendants be cited according to law to appear and answer herein;
                      and upon final hearing a PERMANENT INJUNCTION be issued,
                      restraining and enjoining Defendants, Defendants’ successors, assigns,
                      officers, agents, servants, employees and attorneys and any other person in
                      active concert or participation with Defendants, from engaging in the acts
                      or practices complained of herein;

               B.     For an Order requiring Defendants to restore all money or other property
                      taken from identifiable persons by means of unlawful acts or practices and
                      award judgment for damages and restitution in an amount within the
                      jurisdictional limits of this Court to compensate for such losses;

               C.     For an Order requiring the disgorgement of all sums taken from
                      consumers by means of deceptive practices, together with all proceeds,
                      interest, income, profits and accessions thereto;

               D.     That the Court certify this action and the Class as requested herein,
                      appointing Plaintiff as Class Representative, and appointing Bursor &
                      Fisher, P.A. as Class Counsel;

               E.     Award Plaintiff and the Class members court costs and reasonable and
                      necessary attorneys’ fees in relation to the amount of work expended, and
                      any other relief the Court determines is proper; and

               F.     Provide such other and further relief as the Court may deem just and
                      proper.




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                                 DEMAND FOR TRIAL BY JURY

        Pursuant to Federal Rule of Civil Procedure 38(b), Plaintiff demands a trial by jury of any

and all issues in this action so triable of right.

Dated: February 27, 2018                         Respectfully submitted,

                                                 BURSOR & FISHER, P.A.

                                                 By:      /s/ Frederick J. Klorczyk III
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